Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 1 of 67
                                                                                     1


       1                        UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
       2                               MIAMI DIVISION
       3                      CASE NUMBER 16-20893-CR-MORENO
       4
           UNITED STATES OF AMERICA,
       5
                          Plaintiff,                         Courtroom 13-3
       6
              vs.                                            Miami, Florida
       7
           MONTY RAY GROW,                                   January 23, 2018
       8
                        Defendant.
       9   __________________________________________________________________
      10                  EXCERPT OF JURY TRIAL PROCEEDINGS
                      TESTIMONY OF JENNIFER KLEIN and LISA KLITZ
      11               BEFORE THE HONORABLE FEDERICO A. MORENO
                             UNITED STATES DISTRICT JUDGE
      12   __________________________________________________________________
      13   APPEARANCES:
      14   FOR THE GOVERNMENT:          KEVIN J. LARSEN, AUSA
                                        JON M. JUENGER, AUSA
      15                                United States Attorney's Office
                                        Economic Crimes Section
      16                                United States Attorney's Office
                                        99 Northeast Fourth Street
      17                                Miami, Florida 33132
                                                                  305-961-9356
      18                                                     Fax: 305-530-6168
                                                       kevin.larsen@usdoj.gov
      19                                                jon.juenger@usdoj.gov
      20   FOR THE DEFENDANT:           DANIEL L. RASHBAUM, ESQ.
                                        JEFFREY D. MARCUS, ESQ.
      21                                Marcus Neiman & Rashbaum, LLP
                                        2 South Biscayne Boulevard
      22                                Suite 1750
                                        Miami, Florida 33131
      23                                                          305-400-4261
                                                             Fax: 866-780-8355
      24                                             drashbaum@mnrlawfirm.com
                                                       jmarcus@mnrlawfirm.com
      25
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 2 of 67
                                                                                     2


       1                                KATHRYN A. MEYERS, ESQ.
                                        Law Office of Kathryn A. Meyers PLLC
       2                                201 South Biscayne Boulevard
                                        Suite 1750
       3                                Miami, Florida 33131
                                                                 305-400-4266
       4                                                  kate@kmeyerslaw.com

       5   REPORTED BY:                 GILDA PASTOR-HERNANDEZ, RPR, FPR
                                        Official United States Court Reporter
       6                                Wilkie D. Ferguson Jr. US Courthouse
                                        400 North Miami Avenue - Suite 13-3
       7                                Miami, Florida 33128     305.523.5118
                                        gphofficialreporter@gmail.com
       8

       9

      10

      11

      12

      13

      14

      15

      16

      17

      18

      19

      20

      21

      22

      23

      24

      25
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 3 of 67
                                                                                        3


       1                             TABLE OF CONTENTS

       2                                                                     Page

       3

       4
           Jennifer Klein ............................................... 5
       5
               Direct Examination by Mr. Larsen ......................... 5
       6
                Cross-Examination by Mr. Marcus ........................ 18
       7
           Lisa Klitz .................................................. 40
       8
               Direct Examination by Mr. Juenger ....................... 40
       9
                Cross-Examination by Mr. Marcus ........................ 60
      10
           Reporter's Certificate ...................................... 67
      11

      12

      13

      14

      15
                                         EXHIBITS
      16
           Exhibits                            Marked for             Received
      17                                     Identification         in Evidence

      18   Description                        Page        Line       Page    Line

      19   Government's Exhibit Numbers 1, 67, 170 ............. 5                  2

      20   Government's Exhibit Numbers 170-A through
           170-D .............................................. 11                  9
      21
           Government's Exhibit Number 171 .................... 30                  3
      22
           Government's Exhibit Numbers 3, 4, 4-B, 4-C,
      23   4-D, 5, 6, 7, 8, 9, 11, 159 through 169 ............ 41                19

      24

      25
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 4 of 67
                                                                                     4


       1                                  *     *      *

       2       (The following proceedings were held at 3:33 p.m.:)

       3             THE COURT:     Next witness.

       4             MR. LARSEN:    Your Honor, the United States calls

       5   Special Agent Jennifer Klein.

       6             THE COURT:     All right.      Raise your right hand.

       7             JENNIFER KLEIN, GOVERNMENT'S WITNESS, SWORN.

       8             THE COURT:    Tell us your name once you get seated.

       9             THE WITNESS:     My name is Jennifer, J-e-n-n-i-f-e-r;

      10   last name is Klein, K-l-e-i-n.

      11             THE COURT:    Where do you work?

      12             THE WITNESS:    I'm a special agent with the Defense

      13   Criminal Investigative Service.

      14             THE COURT:     Go ahead.

      15             MR. LARSEN:    Your Honor, before I get started with the

      16   examination, I have spoken with counsel for defense, without

      17   objection the Government is moving in Government's Exhibits 1,

      18   67 --

      19             THE COURT:    Hold on, hold on.        167.

      20             MR. LARSEN:     1, 67 and 170.

      21             THE COURT:    167, right?

      22             MR. LARSEN:    No.

      23             THE COURT:     You said 1, 67.        What else?

      24             MR. LARSEN:    170.

      25             THE COURT:    Okay.      Without objection they will be
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 5 of 67
                                           Klein - Direct

                                                                                     5


       1   admitted.

       2        (Government's Exhibit Numbers 1, 67, 170 were received in

       3   evidence.)

       4                           DIRECT EXAMINATION

       5   BY MR. LARSEN:

       6   Q.   Good afternoon, Special Agent Klein.        Where are you

       7   currently employed?

       8   A.   I am currently employed with the Defense Criminal

       9   Investigative Service, assigned to the Fort Lauderdale, Florida

      10   office.

      11   Q.   And how long have you been employed with the Defense

      12   Criminal Investigative Service?

      13   A.   Approximately 15 years.

      14   Q.   What are the types, just generally, types of cases that

      15   you're assigned to investigate?

      16   A.   The Defense Criminal Investigative Service is specifically

      17   assigned to protecting the American war fighters, the U.S.

      18   military men and women, and the critical infrastructure that is

      19   part of the Department of Defense.

      20             We investigate a slew of different areas to include

      21   procurement fraud, healthcare fraud, terrorism related crimes,

      22   economic crimes, computer crimes, bribery, extortion, things of

      23   the like.

      24   Q.   What is your educational background?

      25   A.   I have a Bachelor and Master's Degree in criminal justice.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 6 of 67
                                           Klein - Direct

                                                                                     6


       1   Q.   And when did you graduate?

       2   A.   Approximately 1999.

       3   Q.   With your Bachelor's degree?

       4   A.   No, about 1998, and then about a year later with the

       5   Master's.

       6   Q.   Okay.   Now, were you assigned as part of your duties to

       7   investigate a case involving the defendant, Mr. Monty Grow?

       8   A.   Yes.

       9   Q.   And what was the scope of the assignment that you received

      10   for this case?

      11   A.   I was assigned to review claims data that was obtained

      12   through certified Tricare claims database system from PCA, and

      13   then from there, extract certain beneficiaries that were under

      14   Mr. Grow and the patient recruiters that were under Mr. Grow and

      15   their patients, and create a separate spreadsheet.

      16   Q.   You testified that you analyzed claims data.       What

      17   specifically related to that claims data did you look at?         Did

      18   you look at all the claims?     Did you look at a subset of the

      19   claims?

      20   A.   Based on the documents, e-mails, and other investigative

      21   materials that we had during the course of the investigation,

      22   there were certain names that were specifically assigned under

      23   Mr. Grow.    For example, there's an email, there's -- I'm sorry.

      24   There was an email specifically from Mr. Grow to Ms. Delgado, I

      25   believe around the time frame April 2015, with specific
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 7 of 67
                                               Klein - Direct

                                                                                           7


       1   attachments with it and under those attachments were beneficiary

       2   names.

       3   Q.   So with respect to the claims data, what specifically were

       4   you looking at with respect to Mr. Grow?

       5   A.   With respect to Mr. Grow, I was tasked with sorting and

       6   filtering out specific beneficiary names.               For example, if under

       7   Mr. Grow there was a beneficiary named John Smith, I would look

       8   at the master claims data that was under PCA and then filtered

       9   out and specifically pick John Smith, with his respective

      10   biographical information, to pertain to that specific John

      11   Smith.

      12   Q.   Okay.    Ms. Klein, I previously -- or a moment ago you

      13   mentioned an email related to someone named Ms. Delgado.               I'm

      14   going to show you what's been admitted as Government's Exhibit

      15   67, and we're going to just put it on the screen here.

      16               MR. LARSEN:    Your Honor, could we switch over to the

      17   computer?

      18             THE COURT:      I don't know.          Can you?

      19             MR. LARSEN:      May I?

      20             THE COURT:      You may.      Permission granted.

      21             MR. LARSEN:      I just need someone --

      22               THE COURT:    When you say may --

      23               MR. LARSEN:    May I, Your Honor?          Ms. Christie is -- I

      24   could come over there and try, but I don't know how.

      25             THE COURT:      As excited as she would be about being here
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 8 of 67
                                           Klein - Direct

                                                                                     8


       1   with you all, she also has to do a lot of work for me inside my

       2   office.

       3             Can you help us, Gilda?

       4   BY MR. LARSEN:

       5   Q.   Okay.   Ms. Klein, I'm showing you what's been admitted as

       6   Government's Exhibit 67.     What is this document that's on the

       7   screen?

       8   A.   This is a document that I was explaining before from

       9   Mr. Grow to Mary Delgado at her Yahoo account and attached to

      10   the email are a few attachments, and on those attachments are

      11   beneficiary names respective to his customers' clients.

      12   Q.   So just showing you Page 2 of the exhibit, could you just

      13   describe for the jury what this is and what you did with it?

      14   A.   Okay.   So I went line-by-line and I tried to, again, go to

      15   the master claims data, which is PCA's claims data, and

      16   literally look up Aaron Gernon.        If I found Aaron Gernon, I

      17   added him -- I segregated his claims information to a separate

      18   spreadsheet.     The same thing with all the other representatives

      19   listed on there.     You know, I tried to be as consistent and as

      20   accurate as possible.

      21   Q.   What were you aiming to do by reviewing this list with

      22   respect to the defendant?

      23   A.   To accurately reflect all of the patients that Mr. Grow was

      24   providing for PCA, for PCA to then in turn bill Tricare and be

      25   paid for those respective claims.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 9 of 67
                                           Klein - Direct

                                                                                     9


       1   Q.   So what was the next thing that you did after reviewing this

       2   document, the claims data?     What, if anything, did you do next?

       3   A.   Okay.   There were instances with his patient recruiters

       4   where there would be -- again, I'll utilize the example of John

       5   Smith.   You'd have John Smith on this document listed for

       6   Mr. Grow, and then you would have John Smith listed under one of

       7   his recruiters.    It would pertain to the same claims data, so

       8   essentially I removed duplicates because obviously you just

       9   wanted to count it for the one time.

      10   Q.   Okay.   I'm going to show you what's been admitted as

      11   Government Exhibit 1-7-0; 170.        Do you recognize the document

      12   that's on the screen?

      13   A.   Yes.

      14   Q.   What is it?

      15   A.   This is the segregated claims data from the PCA into the

      16   Monty Grow spreadsheet of beneficiaries.

      17   Q.   Okay.   On the bottom right-hand corner it says page 1 of

      18   128, so are pages 2 through 128 substantially the same in terms

      19   of the data, the columns that are on these documents?

      20   A.   Correct.

      21   Q.   So in a nutshell, what is this document?      For the jury,

      22   describe it.

      23   A.   This document, just to kind of break it down for the jury a

      24   little bit, it will obviously -- some of it is self-explanatory,

      25   but it will provide the beneficiary's name.       The fill date is in
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 10 of 67
                                            Klein - Direct

                                                                                       10


        1   respect to the date that the prescription was filled.

        2             So in this case, the part that's highlighted would be

        3   for Mr. John Adams, so the fill date would have been 4-14-2015.

        4   The adjudicated date is essentially the date that the claim was

        5   paid for by the insurance company based on the benefits coverage

        6   requirements that they have.

        7             Then the copayment amount if it applied to that

        8   respective beneficiary.     The billed amount is what essentially

        9   was billed to Tricare.    The paid amount is what Tricare

       10   essentially paid from that billed amount.         The prescriber is the

       11   physician who, you know, is under that respective prescription,

       12   and obviously the pharmacy is DCRX, but it's also known as PCA.

       13   Q.   So the names that are in the bene name column, where do

       14   those names come from?

       15   A.   That came from the PCA claims data.

       16   Q.   But where did you get it?      Where did you get those names

       17   from with respect to Mr. Grow?

       18   A.   I extracted the claims data information from the claims that

       19   were submitted and paid for by Tricare.          Everything is housed

       20   under Tricare through a company called Express Scripts,

       21   Incorporated.

       22   Q.   I apologize.   I probably asked a bad question.        These names,

       23   Adams, John; Gabriella, Addie; did they come from another

       24   exhibit you testified to?

       25   A.   Yes, I apologize.   Yes.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 11 of 67
                                           Klein - Direct

                                                                                      11


        1   Q.   Where did you get the names that are in the bene name

        2   column?

        3   A.   From the email that I just spoke of from Mr. Grow to

        4   Ms. Delgado for the time frame of April 2015.

        5             MR. LARSEN:   Your Honor, the Government is now offering

        6   without objection Exhibits 170-A through D.

        7             THE COURT:    All right.     It will be admitted -- they

        8   will be admitted.

        9        (Government's Exhibit Numbers 170-A through 170-D were

       10   received in evidence.)

       11   BY MR. LARSEN:

       12   Q.   Could we go to the last page of Exhibit 170.      Okay.

       13             Ms. Klein, can you explain what's on this last page,

       14   especially the numbers that are in red?

       15   A.   Based on the email, as I articulated before, that Mr. Grow

       16   had submitted to Ms. Delgado and the attachments that pertain to

       17   that, the total for all the beneficiaries identified, and I

       18   identified approximately 676 beneficiaries and about 4,449

       19   claims, this is the overall total to that.

       20             So for copayment amount, the total came out to $37,545

       21   for all the beneficiaries.    It went from, obviously, zero

       22   copayment to $20 copayment, everybody was different.        And the

       23   billed amount was in total that was submitted to Tricare was

       24   48,000 -- I'm sorry, $48,320,259.38, and the total paid amount

       25   was $39,408,499.02.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 12 of 67
                                            Klein - Direct

                                                                                      12


        1   Q.   I'm sorry.   Did you say there were -- how many

        2   individual, specific individual beneficiaries did you identify?

        3   A.   Based on the documents that I reviewed, I was able to

        4   identify, removing duplicates, approximately 676.

        5   Q.   676 individual people?

        6   A.   Individual beneficiaries, correct.

        7   Q.   And how many individual claims?

        8   A.   Approximately 4,449.

        9   Q.   And what was the date range that comprised these claims that

       10   you just testified about?

       11   A.   Based on the email that I utilized, the date range that I

       12   had was on or about November 2014 to August of 2015.

       13   Q.   Okay.   I'm going to show you what's been admitted as

       14   Government's Exhibit 170-A.      Can you explain for the jury what

       15   this document is?

       16   A.   This document is based on information that I reviewed and

       17   based on the document that was provided through the email of the

       18   percentage amounts as well, this is essentially a branch of --

       19   for example, the Rambaran family, you have Rosalinda who

       20   recruited, if you will, or had under her Rasheed, Latonya,

       21   Tricosa and Tashawn; as well as under Rashaan, then Rashaan in

       22   turn recruits Dryvaan.      I apologize if I am butchering the

       23   names.

       24   Q.   With respect to Rosalinda Rambaran, based on your analysis

       25   of the Tricare claims data, was Ms. Rambaran a Tricare
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 13 of 67
                                           Klein - Direct

                                                                                      13


        1   beneficiary?

        2   A.   Yes.

        3   Q.   How about Rasheed Rambaran?

        4   A.   Yes.

        5   Q.   How about Rashaan Rambaran?

        6   A.   Yes.

        7   Q.   How about Dryvaan Rambaran?

        8   A.   Yes.

        9   Q.   What about the others?

       10   A.   Yes.

       11   Q.   Everybody on this screen was a Tricare beneficiary?

       12   A.   That I could locate, yes.

       13   Q.   Let's now look at Government's Exhibit 170-B.       I'm sorry,

       14   hold on.     No, Page 2 of Government's Exhibit 170-A.

       15               Can you explain for the jury what this document is?

       16   A.   I took from Mr. Grow's spreadsheet of those individuals that

       17   I previously identified in the previous exhibit and essentially

       18   is this sum total of the billed, paid, the number of claims, the

       19   specific doctor that was under those prescriptions, and the date

       20   range that this applies to.

       21               On the bottom you will see the specific ingredients for

       22   these prescriptions and the number of times those ingredients

       23   were used for each individual.

       24   Q.   So when you say Rambaran family, what assumption did you

       25   make in calling this the Rambaran family?
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 14 of 67
                                            Klein - Direct

                                                                                      14


        1   A.   When you see, for example, the sponsor ID number, it's

        2   actually when you have a Tricare member, just like myself, I'm

        3   the primary -- you know, I have my own insurance, I am the

        4   primary, so any of my family members would be under me, same

        5   thing with Tricare.     So the sponsor ID is that, it is one

        6   individual, but it's the coverage for the family.

        7            Then for the specific ingredients, for example, for the

        8   first column, for the pain, when I looked at the claims data,

        9   you would see for Dryvaan, for his respective claims, you would

       10   see the number of times each one of these ingredients were

       11   utilized.

       12                So, for example, Dryvaan would be -- there was

       13   prescriptions where on two occasions I would see it was under

       14   pain, scar, you know, so forth, you know, et cetera.

       15   Q.   Okay.    Can we briefly look at Page 3?     Now, what are you

       16   stating in this document?

       17   A.   Based on interviews that were conducted as well as the

       18   documents that were submitted by Mr. Grow, it shows that

       19   Mrs. Rambaran had recruited the following individuals and it's

       20   outlined.     The slight difference is Rosalinda Rambaran did

       21   recruit Rashaan Rambaran, but then he in turn recruited Dryvaan

       22   Rambaran.

       23   Q.   Okay.    What data, if any, did you look at in creating this

       24   that came from Mr. Grow's documents?

       25   A.   I looked at the claims data to see whether or not claims
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 15 of 67
                                               Klein - Direct

                                                                                       15


        1   were submitted for these respective individuals, which they

        2   were, as well as reviewing interview reports.

        3                MR. LARSEN:   Okay.   Could I get 170-B?

        4   BY MR. LARSEN:

        5   Q.   What is 170-B?

        6   A.   This is another example.        As I did with the Rambaran family,

        7   I did it the same way for the Bing family as a general outline.

        8               So you have, you know, Joy Bing, who then recruited the

        9   other individuals; Colette Bing, Vidal Bing, Oliver Thomas,

       10   Nichole Powell and Rosalinda Rambaran, who obviously you had

       11   seen from the previous exhibit.            Rosalinda in turn then

       12   recruited her family members, so it kind of extends.

       13   Q.   So Joy Bing is a Tricare beneficiary?

       14   A.   Yes.

       15   Q.   And how about Colette Bing and Vidal Bing?

       16   A.   Yes.

       17   Q.   Oliver Thomas and Nichole Powell?

       18   A.   Yes.

       19   Q.   So everyone on this document is also a Tricare beneficiary?

       20   A.   Correct.

       21   Q.   If we could look at Page 2 of the exhibit.          So Page 2 shows

       22   a similar amount of data as you did for the Rambaran family.

       23   Can you just briefly describe what you did here?

       24   A.   Okay.    As in the previous exhibit, the same thing with the

       25   Bing family where you have the sponsor ID number for that
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 16 of 67
                                           Klein - Direct

                                                                                      16


        1   respective family.    The total billed for the Bing family is

        2   outlined, as well as the total paid, as well as the total number

        3   of claims that were submitted for those respective individuals,

        4   as well as the prescriber and the date range that this applies

        5   to.    On the bottom of you have, again, the specific ingredients

        6   that were used and identified through the claims data was

        7   reviewed.

        8   Q.    So the total paid amount here, the $337,999, whose claim is

        9   that specifically related to?

       10   A.    To the Bing family.

       11   Q.    Joy Bing, Vidal Bing, and Colette Bing?

       12   A.    Correct.

       13   Q.    If we could look at Government's Exhibit 170-C.      Who's the

       14   Powell family?

       15   A.    The Powell family is another example to the previous Bing

       16   family and Rambaran family.     Nichole Powell who had been

       17   recruited by someone else, who then -- she is a Tricare

       18   beneficiary who then recruited Joy Bing, Glenn Powell and Aisha

       19   Owmby.

       20   Q.    And everyone on this, Nichole Powell, Glenn Powell, and we

       21   just talked about Joy Bing, and Aisha Owmby, is everybody on

       22   this document a Tricare beneficiary?

       23   A.    Yes.

       24   Q.    If you look at Page 2, it says for the Powell family -- and

       25   the Powell family, according to the document, is it Glenn Powell
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 17 of 67
                                            Klein - Direct

                                                                                      17


        1   and Nichole Powell?

        2   A.   Yes.

        3   Q.   Okay.    So the total amount paid for claims related to the

        4   Powell family is what?

        5   A.   Total billed is $373,816.36; total paid is $318,347.79 in

        6   relation to 28 claims.

        7   Q.   Finally, if we could look at Government's Exhibit 170-D.

        8   Who is Philip Snodgrass?

        9   A.   He is another Tricare beneficiary.

       10   Q.   What did you do to create this document in 170-D?

       11   A.   I segregated his claims data from Mr. Grow's spreadsheet and

       12   identified a total of four claims and, you know, summarized the

       13   total billed and the total paid, you know, the prescriber, as

       14   well as the date range and the ingredients that were used to

       15   make the prescription.

       16   Q.   So a total of four claims and the total amount paid was the

       17   second figure, the $26,336.81?

       18   A.   Yes.

       19               MR. LARSEN:   One moment, Your Honor.

       20   BY MR. LARSEN:

       21   Q.   On Government's Exhibit 67, you testified about the patient

       22   list of Mr. Grow's and you said there were several other

       23   attachments.     Could you just briefly describe what these other

       24   attachments that you looked at were and what you used them for?

       25   A.   The first attachment, which we saw a sub attachment to, is a
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 18 of 67
                                             Klein - Cross

                                                                                      18


        1   listing of beneficiaries that he had in alphabetical order with

        2   names next to it and numbers next to it, which is like

        3   percentages.     That's the first attachment.

        4               The second one is outlining beneficiaries that he

        5   brought into the company.       For example, it says Monty Grow,

        6   2.21, 3.7.     When you open that attachment, it's showing February

        7   21st to March 7th.

        8   Q.   Okay.

        9   A.   And the next one is Monty Grow, 3.8 through 3.21.        Again, it

       10   reflects the date range of patients he brought in for March 8th

       11   through March 21st, so on and so forth.          The next attachment,

       12   Monty Grow, 3.22 through 4.4.        It's March 22nd through April

       13   4th; and the last one that he has attached is Monty Grow, 4.5

       14   through 4.18, which is April 5th through April 18th.

       15               MR. LARSEN:    Thank you.     Nothing further, Your Honor.

       16                THE COURT:   Cross-examination.

       17                               CROSS-EXAMINATION

       18   BY MR. MARCUS:

       19   Q.   Good afternoon, Special Agent Klein.

       20   A.   Good afternoon.

       21   Q.   I want to start with some questions about the Tricare data

       22   and Tricare itself.       Tricare is essentially a very large health

       23   insurance program, right --

       24   A.   Yes.

       25   Q.   -- that provides benefits to military families and people in
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 19 of 67
                                            Klein - Cross

                                                                                      19


        1   the military?

        2   A.   Yes.

        3   Q.   One of the largest healthcare programs in the country,

        4   right?

        5   A.   Yes.

        6   Q.   And as an insurance program, it reimburses for claims that

        7   providers make to it.      Do you agree with that?

        8   A.   Yes.

        9   Q.   But you have to become a provider in order to submit a bill

       10   to Tricare for a claim.      Do you agree with that?

       11   A.   Yes.

       12   Q.   So for example, physicians can be providers, right?

       13   A.   Yes.

       14   Q.   Hospitals?

       15   A.   Yes.

       16   Q.   And pharmacies?

       17   A.   Yes.

       18   Q.   Mr. Grow is not a Tricare provider, is he?

       19   A.   Not to my knowledge.

       20   Q.   Right.    So just so it's clear to the jury --

       21               MR. MARCUS:   Could you guys show the last email with

       22   Mr. Grow's report on the computer?

       23   BY MR. MARCUS:

       24   Q.   Ms. Delgado worked with Mr. Grow, right?

       25               MR. LARSEN:   Objection, foundation.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 20 of 67
                                                  Klein - Cross

                                                                                          20


        1                  MR. MARCUS:     Well --

        2                  THE COURT:     Grounds.

        3                  MR. LARSEN:     Objection, foundation, Your Honor.

        4                  THE COURT:     Okay.   Does she know that?

        5                  Do you know that?

        6                  THE WITNESS:    I do not, Your Honor.

        7                  THE COURT:     Then that takes care of it.

        8   BY MR. MARCUS:

        9   Q.     Okay.     But you were part of the investigative team for this

       10   case, were you not?

       11   A.     Yes, but I came in very, very late on in the investigation.

       12   Q.     Okay.

       13   A.     Literally like less than two months ago.

       14   Q.     Less than two months?

       15   A.     Correct.

       16   Q.     Okay.    So when do you think you started on the

       17   investigation?

       18   A.     November, late November I would say.           October-November time

       19   frame, but fully vested, because we have so many cases, I would

       20   say the past two months.

       21   Q.     Okay.     So when you're talking about documents with Mr. Grow,

       22   you're not talking about any documents submitted to Tricare, are

       23   you?

       24   A.     For these attachments?

       25   Q.     Yes.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 21 of 67
                                            Klein - Cross

                                                                                      21


        1   A.   No.   That I am aware of, those attachments were not

        2   submitted to Tricare directly.

        3   Q.   Are you aware of a single document that Mr. Grow ever sent

        4   to Tricare?

        5   A.   Him directly?     No.

        6   Q.   Yes, him directly.

        7   A.   No.   The answer is no, that I'm aware of.

        8   Q.   And are you aware of any claim that was ever submitted by

        9   Mr. Grow directly to Tricare?

       10   A.   No.

       11   Q.   So Exhibit 170 is a compilation of claims that were

       12   submitted to Tricare for reimbursement; is that right?

       13   A.   Correct.    That was submitted by PCA to Tricare for

       14   reimbursement.

       15   Q.   Right.     PCA is the pharmacy and they were a Tricare

       16   provider.

       17   A.   Correct.

       18   Q.   Okay.    And so just so it's -- so all of this data that you

       19   looked at relate to claims that the pharmacy submitted directly

       20   to Tricare on behalf of prescription medications that it

       21   provided to beneficiaries?

       22   A.   It was submitted by PCA, but those names were obtained

       23   through that email from Monty Grow to Ms. Delgado.

       24   Q.   Well, I understand.     The email is separate.   There's an

       25   email with Mr. Grow and Ms. Delgado that has an attachment that
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 22 of 67
                                           Klein - Cross

                                                                                      22


        1   lists some of the same patients, right, and some information

        2   that you discussed on direct.

        3   A.   Yes.

        4   Q.   Right.    But the actual claims submissions that are sent to

        5   Tricare, the billing, the claims reimbursement, none of that

        6   came from Mr. Grow?

        7   A.   For the physical claim, for example, for one of the

        8   attachments that is not physically listed on Exhibit 67, it

        9   lists the -- I believe it was the prescription number.        So, for

       10   example, John Smith had specific numbers assigned to him and

       11   then I would cross reference it with the master claims data from

       12   PCA so that it fully aligned.      It's not just John Smith, it

       13   fully aligned with specific claims that were then in turn

       14   submitted by PCA that were billed and paid for by Tricare.

       15   Q.   Okay.    I understand you were looking -- my question is

       16   focused on -- we're just talking about the submission of claims.

       17   Okay?

       18   A.   Okay.

       19   Q.   I mean, I could put them all here, but this is 128 pages and

       20   this is just a summary of some of the claims, right, these are

       21   beneficiaries, and you went through on direct and explained the

       22   categories, right?

       23   A.   Yes, sir.

       24   Q.   Okay.    For all of the claims in this entire document, all of

       25   them were submitted by PCA to Tricare, correct?
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 23 of 67
                                             Klein - Cross

                                                                                      23


        1   A.   Correct, but they were submitted by Mr. Grow to Ms. Delgado

        2   who -- okay.     I'm sorry.

        3   Q.   Because I don't want it to be confusing.        So we talked about

        4   Tricare is an insurance program, correct?

        5   A.   Yes, sir.

        6   Q.   In order to send a claim to Tricare, you have to be a

        7   provider.    Do you agree with that?

        8   A.   Yes.

        9   Q.   You actually have to sign a provider agreement, it's

       10   essentially a contract.       You agree with that?

       11   A.   Yes.

       12   Q.   And you get a number and that allows you to submit claims

       13   for reimbursement for medical services you provide?

       14   A.   Yes.

       15   Q.   Okay.   Pharmacies, for example, have a provider number?

       16   A.   Correct.

       17   Q.   PCA had a provider number?

       18   A.   Correct.

       19   Q.   And all of the patient data you looked at in this case

       20   related to prescriptions that PCA filled for Tricare

       21   beneficiaries?

       22   A.   Correct.

       23   Q.   And for that reimbursement claim -- for the claims that were

       24   submitted, you went through and you showed the amounts per

       25   claim.   Every single claim that was submitted to Tricare came
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 24 of 67
                                            Klein - Cross

                                                                                      24


        1   from PCA.     Do you agree with that?

        2   A.   For the billed and paid amount, it was done by PCA and paid

        3   for by Tricare to that company, yes.

        4   Q.   Right.    They're the ones lawfully that submit the claim

        5   because they are the actual medical provider, in this case the

        6   prescription drug provider.      Do you agree with that?

        7   A.   Yes.

        8   Q.   Okay.    And in fact, Tricare hires a pharmacy benefit manager

        9   to administer Tricare and look at all of these claims that are

       10   submitted to it.     It's a company called Express Scripts.     Have

       11   you heard of that name?

       12   A.   Yes.

       13   Q.   We sometimes call them PBM for short, but it's prescription

       14   benefit manager, correct?

       15   A.   Correct, yes.

       16   Q.   And Express Scripts provides those services to Tricare on a

       17   contract basis?

       18   A.   Yes.

       19   Q.   And in fact, Express Scripts acts as a PBM for private

       20   insurances like Aetna or Humana, for example?

       21   A.   Yes.

       22   Q.   And they're paid to do that?

       23   A.   Nothing is free, yes.

       24   Q.   Nothing is free.     And they screen these claims, do they not?

       25               MR. LARSEN:   Objection, foundation.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 25 of 67
                                            Klein - Cross

                                                                                      25


        1             THE COURT:     How does she know that?

        2             How do you know that, who screens?

        3             THE WITNESS:     I do not, Your Honor.

        4             THE COURT:    Okay.   I'll sustain the objection.

        5   BY MR. MARCUS:

        6   Q.   Well, you were talking about the claim submission process.

        7   So you're not familiar through your work as to the Tricare

        8   reimbursement process?

        9   A.   A very general understanding, but the intricate details of

       10   how that process works, no.

       11   Q.   Okay.    Well, in the data you looked at there were

       12   prescriptions, right, from a medical doctor for every single

       13   claim?

       14   A.   Correct.

       15   Q.   Right.     And the reason for that --

       16   A.   If I can clarify.     Based on the ones that I saw, I saw

       17   prescriber.

       18   Q.   You saw prescriber, just like, for example, this column,

       19   right, prescriber?

       20   A.   Yes, correct.

       21   Q.   Right.     And that denotes a physician that can lawfully

       22   prescribe prescription medications?

       23             MR. LARSEN:     Objection, foundation.

       24             THE COURT:     Does she know that?    How does she know

       25   that?
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 26 of 67
                                             Klein - Cross

                                                                                      26


        1             Do you know that?

        2                THE WITNESS:   I do not know, Your Honor.

        3             THE COURT:    Okay.   Sustained.

        4   BY MR. MARCUS:

        5   Q.   Well, did you put together this chart?

        6   A.   Yes, I did, sir.

        7   Q.   So every document -- you looked at claims to put this

        8   together, right?

        9   A.   I reviewed the claims based on the specific documentation,

       10   that email with those respective attachments that I explained

       11   before, to compare it with that master claims data, yes.

       12   Q.   Right.    And for each claim you saw a prescriber, correct?

       13   A.   I believe that for every one, I did see a prescriber.       I

       14   mean, there was literally -- there are, as I said before, 4,449

       15   claims.      If you don't mind, I would like to look at, you know,

       16   the 128 pages just to verify that every single line item had a

       17   prescriber, but I believe that it did, but I don't want to say

       18   for certain.

       19   Q.   Okay.    But to your memory, based on the work you did, you

       20   recall seeing prescriptions and prescriber information for the

       21   claims?

       22   A.   Yes, correct.

       23   Q.   And that last page that Mr. Larsen showed you which broke

       24   down the billing amount -- which I think was around $48 million

       25   or so?
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 27 of 67
                                               Klein - Cross

                                                                                       27


        1   A.   Yes.

        2   Q.   And then the paid amount was 39 million.       You saw that?

        3   A.   Yes.

        4   Q.   So Tricare or Express Scripts as the PBM, denied some

        5   claims?

        6               MR. LARSEN:    Objection, foundation.

        7               THE COURT:    Do you know that?

        8               THE WITNESS:    I do not.

        9               THE COURT:     Okay.

       10   BY MR. MARCUS:

       11   Q.   You do not know the difference between a claim that is

       12   billed and a claim that is paid?

       13   A.   A general understanding, but the intricate details behind

       14   it, no.

       15   Q.   When you put together --

       16               MR. MARCUS:    Could you just bring up that last page?     I

       17   don't think -- it's not physically attached to 170.

       18               THE COURT:     It's not going to go on unless someone is

       19   there.      So if you're going to do that -- I can't just have

       20   someone sitting there just waiting for that.

       21               Now it's on.

       22   BY MR. MARCUS:

       23   Q.   You prepared that page?

       24   A.   The summation page, yes.

       25   Q.   So you prepared billed amount and paid amount, but you don't
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 28 of 67
                                                 Klein - Cross

                                                                                        28


        1   know what they mean?

        2   A.     The billed amount is the amount that the company submitted,

        3   you know, for the claim, for each respective claim, and that's

        4   the ultimate total.         The paid amount is what the insurance

        5   physically paid.

        6   Q.     And you would agree that insurance in this case, Tricare,

        7   paid about 9 million less than was billed?

        8   A.     I don't have a calculator.         I'll take your word for it.

        9   Q.     Okay.    Well, the amounts speak for themselves on the screen,

       10   correct?

       11   A.     Yes.

       12   Q.     And the paid amount is less than the billed amount?

       13   A.     Yes.

       14                 MR. MARCUS:     Your Honor, I apologize.   Can I indulge to

       15   switch back to the ELMO?          I promise I won't do it again.    Thank

       16   you.

       17                  THE COURT:   Don't make a promise you aren't able to

       18   keep.

       19   BY MR. MARCUS:

       20   Q.     Agent Klein, on direct you testified that the fill date is

       21   the date that the prescription is filled, correct?

       22   A.     Correct.     That's my understanding of how it worked.

       23   Q.     Right.     So --

       24                  THE COURT:     Where did you get that information?

       25                  THE WITNESS:    Through reviewing claims data, speaking
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 29 of 67
                                                Klein - Cross

                                                                                        29


        1   with representatives from the defense health agency, you know,

        2   through Tricare.

        3               THE COURT:     But how would you get the fill date?

        4                THE WITNESS:    Through the claims data itself.

        5                THE COURT:     And it said fill date?

        6                THE WITNESS:    Correct.      Yes, Your Honor.

        7                THE COURT:    Someone had put fill date on it?

        8                THE WITNESS:    Yes.    When we received the claims data

        9   information, it has all of those headers for us.

       10               THE COURT:     Okay.    Go ahead.

       11   BY MR. MARCUS:

       12   Q.   Okay.    So for Mr. Featherston, I'll just highlight it so you

       13   can see it on the screen, there's a fill date of January 9th of

       14   2015.   Do you see that?

       15   A.   Yes.

       16   Q.   And this next column is adjudication date.          Do you see that?

       17   A.   Yes.

       18   Q.   That's when the claim is adjudicated by Tricare?

       19   A.   Yes.

       20   Q.   And it's the same date, January 9th?

       21   A.   Yes.

       22   Q.   And this is when Tricare decides if the claim submitted, in

       23   this case by PCA, the pharmacy, is appropriate to be reimbursed?

       24   A.   Yes.

       25                MR. MARCUS:    Without objection, Your Honor, I'm going
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 30 of 67
                                             Klein - Cross

                                                                                      30


        1   to offer into evidence Government's Exhibit 171.

        2               THE COURT:    All right.    Admitted.

        3        (Government's Exhibit Number 171 was received in evidence.)

        4   BY MR. MARCUS:

        5   Q.   And again, just for the first Tricare beneficiary, this is a

        6   gentleman named Philip Snodgrass.          Do you see that?

        7   A.   Yes, sir.

        8   Q.   Could you just tell us what the fill date is?

        9   A.   December 29, 2014.

       10   Q.   Thank you.    And the prescription number?

       11   A.   105565.

       12   Q.   And just to state the obvious, you would agree that December

       13   comes before January or February on the calendar?

       14   A.   Yes.

       15   Q.   Of 2014.     So, for example, December 29, 2014 comes before

       16   January 28, 2015?

       17   A.   Correct.

       18   Q.   It's an earlier date.     Thank you.

       19               THE COURT:    Redirect.

       20               MR. MARCUS:    Oh, no --

       21               THE COURT:    Oh, when you say "thank you," I thought you

       22   were at the end.

       23               MR. MARCUS:    I'm getting there.     I'm getting there.

       24               THE COURT:    You don't have to thank her for each one.

       25   When I hear "thank you," I'll know you're finished.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 31 of 67
                                             Klein - Cross

                                                                                        31


        1               MR. MARCUS:    Understood.

        2   BY MR. MARCUS:

        3   Q.   So when you were compiling the data for these various

        4   claims, you saw that a lot of these prescriptions, drugs, cost

        5   thousands of dollars.       Is that fair to say?

        6   A.   Yes.

        7   Q.   And that reimbursement price is something set by Tricare and

        8   Express Scripts for prescriptions?

        9               MR. LARSEN:    Objection, foundation.

       10               THE COURT:    How do you know that?     Do you?

       11               THE WITNESS:    I do not know, Your Honor.

       12               THE COURT:    Then I'll sustain the objection.

       13   BY MR. MARCUS

       14   Q.   You know that all these claims were processed and approved

       15   by Tricare?

       16   A.   I don't know what was truly processed and paid.          I only have

       17   the certified claims data from Tricare, which I believe was

       18   Exhibit Number 1, so I'm taking for face value that that is the

       19   accurate information.

       20   Q.   Right.    And it shows claims by date, it shows prescribers,

       21   correct?

       22   A.   Yes.

       23   Q.   It shows the amounts that are claimed, the amounts billed,

       24   and the amounts paid?

       25   A.   Yes.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 32 of 67
                                              Klein - Cross

                                                                                      32


        1   Q.   And an adjudication date?

        2   A.   Yes.

        3   Q.   Okay.    Now, have you ever seen like an Explanation of

        4   Benefits?     Have you ever like stayed in a hospital, for example,

        5   and seen an Explanation of Benefits for a hospital stay?

        6   A.   Yes, I have.

        7   Q.   Okay.     And fair to say that items that are billed to you

        8   while you stay in the hospital can be very expensive?

        9   A.   Yes.

       10   Q.   Have you, yourself, seen prescription medications, the

       11   sticker price for some of these medications on an Explanation of

       12   Benefits?

       13   A.   That I can recall off the top of my head, no.

       14   Q.   But from your own personal experience you've seen medical

       15   services that are billed that are on the sticker price very

       16   high?

       17   A.   For example, for prescriptions for me personally, I go to

       18   CVS, so it will be $10, it will be $25.           You know what I mean?

       19   I don't see an exuberant amount that I don't have to personally

       20   pay, and I don't see it on the benefits.

       21   Q.   Right.     Because you have health insurance and your health

       22   insurance has a certain rate and a benefit in terms of

       23   reimbursement, it's contractual?

       24                MR. LARSEN:    Objection, relevance.

       25                THE COURT:    Overruled on that basis.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 33 of 67
                                           Klein - Cross

                                                                                      33


        1   BY MR. MARCUS:

        2   Q.   And if you stayed in a hospital, if you had surgery for

        3   example, and you were given Motrin, do you think you would be

        4   paying the same price on that Explanation of Benefits for your

        5   hospital stay as you would if you were just buying Motrin over

        6   the counter at like at a CVS?

        7   A.   I don't know honestly.

        8   Q.   Would it surprise you if it was a lot more?

        9             MR. LARSEN:    Objection, foundation, asked and answered.

       10             THE COURT:    Well, probably true, but is there really

       11   any disagreement that that occurs from time to time?         You're too

       12   young to have health --

       13             MR. LARSEN:    I don't think there's a disagreement.

       14   It's just we're going way beyond the scope.

       15            THE COURT:     So it doesn't matter.   All right.    So I'll

       16   overrule the objection.

       17   BY MR. MARCUS:

       18   Q.   Agent Klein, also you said you joined the investigation, you

       19   participated as part of the investigation in this case.

       20   A.   Correct, sir.

       21             THE COURT:    But you're not going to ask her to tell you

       22   what she found in the investigation, are you?       Because that

       23   would be hearsay, she would hear things, read things.

       24             MR. MARCUS:    I am not going to ask her that.

       25             THE COURT:    Oh, I just want to make sure because that
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 34 of 67
                                              Klein - Cross

                                                                                      34


        1   happens a lot, usually from the other side.         All right.

        2   BY MR. MARCUS:

        3   Q.     You attended an interview with a witness named Deanna

        4   Dutting, D-u-t-t-i-n-g, correct?

        5   A.     I don't think so, no.

        6               THE COURT:    You're going to ask her about someone

        7   else's statement to her?

        8               MR. MARCUS:     I wasn't going to ask what the statement

        9   was.

       10               THE COURT:    Are you going to ask her if she interviewed

       11   her?

       12               MR. MARCUS:    Yes.

       13   BY MR. MARCUS:

       14   Q.     You've reviewed interview reports in this case?

       15   A.     Yes, but I was not part of an interview with Ms. Dutting.

       16               THE COURT:    You've been there two months, right, on

       17   this case?

       18               THE WITNESS:    Correct, yes, Your Honor.

       19   BY MR. MARCUS:

       20   Q.     Are you aware that --

       21               THE COURT:     I've got to interrupt.   When you say "are

       22   you aware," we are aware of things when we read things, right,

       23   like reports?     We're aware of things when we see things, and

       24   we're aware of things when we hear things.          If we hear things,

       25   we have hearsay and the jurors already are now graduates based
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 35 of 67
                                              Klein - Cross

                                                                                      35


        1   on the hearsay rule.

        2                There's no see-say rule, so she can testify about what

        3   she saw, and if she used it to compute her summary of charts of

        4   what was paid and what was asked, she can testify about that.

        5   But I don't know if she can testify about what she was aware of

        6   from looking at reports.

        7                Do you think she's able to testify about that?

        8                MR. MARCUS:    I'll phrase it in a better way.

        9                THE COURT:    Do you think she can do that?

       10                MR. MARCUS:    No, I wasn't asking --

       11                THE COURT:    All right, as long as we agree.    I agree

       12   with you because I wouldn't want to let then the prosecutor asks

       13   those on redirect and then we've got all kinds of things.

       14   BY MR. MARCUS:

       15   Q.   Let me ask it this way:       As part of the investigative team,

       16   have you listened to recorded conversations from anyone in this

       17   case?

       18   A.   No, I have not.

       19   Q.   You have not seen any?

       20   A.   Seen any recorded conversations?

       21   Q.   Well, have you seen any CDs or media of recorded

       22   conversations physically?

       23   A.   No, sir.

       24   Q.   Okay.    I'll move on.

       25                THE COURT:    How much longer do you have of this summary
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 36 of 67
                                                Klein - Cross

                                                                                        36


        1   witness?

        2                MR. MARCUS:    Very short, Your Honor.

        3                THE COURT:     I don't know what that means, but I'll

        4   accept it.

        5                MR. MARCUS:    Less than five minutes.

        6               THE COURT:     That is short.           I'll take it.

        7                MR. MARCUS:    Okay.

        8   BY MR. MARCUS:

        9   Q.   So Mr. Grow's hotmail account was subpoenaed by law

       10   enforcement as part of this investigation?

       11               MR. LARSEN:     Objection, foundation.

       12               THE COURT:     Sustained.      Did you do anything with that?

       13                THE WITNESS:    No, Your Honor, I did not.

       14               THE COURT:     Sustained.

       15   BY MR. MARCUS:

       16   Q.   Okay.    Let me show what's already in evidence as Exhibit 70.

       17   Do you agree that in the "from" line, this is an email sent by

       18   Mr. Grow?

       19   A.   Yes, sir.

       20   Q.   Okay.    And are you familiar with Bates numbers?

       21   A.   Yes, I am, sir.

       22   Q.   They're numbers when you produce documents to denote the

       23   source of the production?

       24   A.   Yes.

       25   Q.   And the production here is, the number is -- in the bottom
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 37 of 67
                                              Klein - Cross

                                                                                      37


        1   right-hand corner it is MG 116986?

        2   A.   Yes, sir.

        3   Q.   Okay.    Let me show you another document that's in evidence.

        4   That is Government's Exhibit 142.

        5                Can you see that this is an email from Monty Grow's

        6   hotmail account?      See that?

        7   A.   Yes, sir.

        8   Q.   Okay.     This Bates range, though -- that's PCAX.    Do you see

        9   that?

       10   A.   Yes, sir.

       11            MR. LARSEN:      Objection, foundation.

       12                THE COURT:   Well, all she's doing is saying that's what

       13   it says, so I'll overrule the objection.

       14                Do any other jurors not know how to read?    You all know

       15   how to read?      Okay.   No problem.

       16   BY MR. MARCUS:

       17   Q.   PCA is short for Patient Care of America, the pharmacy,

       18   right?

       19   A.   My understanding is yes.

       20   Q.   Okay.    Let me just show you one last document, this is also

       21   in evidence, this is Defense Exhibit 202-I.        It's titled

       22   Participant Information and Consent Form.

       23            Do you see that?

       24   A.   Yes, sir.

       25   Q.   And you would agree that this Bates number is not either MG
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 38 of 67
                                           Klein - Cross

                                                                                       38


        1   or PCA?

        2   A.   Based on the number shown, no, it is not.

        3   Q.   The letters there are GL?

        4   A.   Yes, sir.

        5   Q.   And just so it's clear, I'll show you the pages and just

        6   stop me -- it's a three-page document.           You would agree there's

        7   no email attached to this document?

        8   A.   That I see you flipping through?          No, sir.

        9              THE COURT:   No, there's no email attached.

       10              THE WITNESS:   No, there's no email attached.        Sorry.

       11   BY MR. MARCUS:

       12   Q.   Agent Klein, on the charts that you made for the different

       13   families that showed their claims that were submitted to

       14   Tricare -- do you recall those charts?

       15   A.   Yes, sir.

       16   Q.   -- you used the word "recruit" a lot.          That's your term.

       17   A.   That's based on reports that I have read.

       18   Q.   Not based on your knowledge, personal knowledge?

       19   A.   Personal knowledge as far as the investigation and what I've

       20   read?     I'm sorry.

       21   Q.   You didn't talk to any of those people personally?

       22   A.   For those family members, I did not, sir, no.

       23   Q.   So you don't know -- when you use that term "recruit,"

       24   that's not based on any direct hand knowledge of the facts?

       25   A.   Based on those investigative reports that I read --
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 39 of 67
                                                 Klein - Cross

                                                                                             39


        1   Q.     I'm not asking you --

        2   A.     I'm sorry.     If I spoke to the individuals?          No.    To answer

        3   your question, no, correct.

        4   Q.     Okay.    Sales representatives can market products in this

        5   country; that's not a crime, is it?

        6              MR. LARSEN:       Objection, foundation.

        7                  THE COURT:    You're going to ask her what's a crime or

        8   not?

        9                  MR. MARCUS:    I'll withdraw that.

       10               THE COURT:       Okay.

       11              MR. MARCUS:       Thank you, Your Honor.

       12                  THE COURT:    Any redirect?       That's not direct all over

       13   again, just redirect?

       14               MR. LARSEN:       No redirect, your Honor.

       15                  THE COURT:    Thank you.     You're excused.

       16          (The witness was excused.)

       17               THE COURT:       Who is your next witness?

       18               MR. JUENGER:       Lisa Klitz, Your Honor.

       19              THE COURT:        All right.     Are you all okay?       You're

       20   troopers.       Do you need a bathroom break?           You're all okay?

       21   Excellent.

       22              Right over here, please.            Raise your right hand.

       23                  LISA KLITZ, GOVERNMENT'S WITNESS, SWORN.

       24              THE COURT:        Get comfortable.        Get as comfortable as you

       25   can and tell us your name, please.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 40 of 67
                                           Klitz - Direct

                                                                                      40


        1             THE WITNESS:    My name is Lisa Klitz, K-l-i-t-z.

        2             THE COURT:    Thank you very much.    Go ahead.

        3                            DIRECT EXAMINATION

        4   BY MR. JUENGER:

        5   Q.   Good afternoon, Ms. Klitz.      Can you please tell us where you

        6   live, city and state?

        7   A.   Coral Springs, Florida.

        8   Q.   What do you do for a living?

        9   A.   I'm a senior financial investigator for Renzulli &

       10   Associates.

       11   Q.   And for the benefit of our court reporter can you spell

       12   Renzulli, please?

       13   A.   R-e-n-z-u-l-l-i.

       14   Q.   And what kind of company is Renzulli & Associates?

       15   A.   They are a Government contractor.

       16   Q.   What kind of services do they provide?

       17   A.   They provide financial analysis services to the Department

       18   of Defense.

       19   Q.   And can you briefly describe your education and experience

       20   as a financial investigator?

       21   A.   I have a four-year Bachelor's Degree in business

       22   administration, with a major in accounting.       I was employed by

       23   the Internal Revenue Service, Criminal Investigation Division

       24   for approximately 27 years, 24 years as an agent and three years

       25   as a supervisor.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 41 of 67
                                             Klitz - Direct

                                                                                      41


        1   Q.   And what type of cases did you work on generally?

        2   A.   Fraud cases; mortgage fraud, healthcare fraud, public

        3   corruption, tax fraud, all financial investigations.

        4   Q.   And are you familiar with an investigation of a pharmacy

        5   called Patient Care America?

        6   A.   I am.

        7   Q.   And were you asked to do some analysis of the bank records

        8   related to that investigation?

        9   A.   I was.

       10   Q.   And so I want to show you some documents.

       11              MR. JUENGER:     Your Honor, if I may, without objection

       12   from the defense, I have a number of documents I would like to

       13   introduce.

       14              THE COURT:   Okay.   You've got to tell me what they are.

       15                MR. JUENGER:   They are Government's 3, 4, 4-B, 4-C,

       16   4-D, 11, and 159 through 169 inclusive, and Government's 5, 6,

       17   7, 8, 9.

       18              THE COURT:   Without objection, they will be admitted.

       19        (Government's Exhibit Numbers 3, 4, 4-B, 4-C, 4-D, 5, 6, 7,

       20   8, 9, 11, 159 through 169, were received in evidence.)

       21   BY MR. JUENGER:

       22   Q.   Ms. Klitz, I'm showing you -- I'm just going to hold them up

       23   for you, what's marked as Government's Exhibit 3 and

       24   Government's Exhibit 4.      Do you recognize these?

       25   A.   I do.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 42 of 67
                                           Klitz - Direct

                                                                                      42


        1   Q.    And can you tell us what's on Government's Exhibit 3?      It's

        2   a CD.

        3   A.    Bank accounts belonging to PCA or DCRX.

        4   Q.    And as far as Government's Exhibit 4, can you tell us what's

        5   on Government's Exhibit 4?

        6   A.    Bank accounts belonging to MGTEN Marketing Group and Monty

        7   Grow.

        8   Q.    And how many accounts total are on Government's Exhibit 4?

        9   A.    At least the two MGTEN Marketing Group accounts at Bank of

       10   America and the Monty Grow personal account at Bank of America.

       11   Q.    And have you reviewed all of those bank records on

       12   Government's Exhibit 4?

       13   A.    I have.

       14   Q.    And did you prepare summaries today, or prior to today, of

       15   those bank records on Government's Exhibit 4?

       16   A.    I did.

       17   Q.    Now, before we take a look at those summaries, I want to

       18   talk about the two MGTEN corporate accounts that you just

       19   mentioned.

       20              Who's the signatory on both of those accounts?

       21   A.    Monty Grow.

       22   Q.    And I'm going to show you, if you can see on the ELMO, this

       23   is Government's Exhibit 4-B, and can you tell the jury what this

       24   is?

       25   A.    This is the signature card for the account opening, the
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 43 of 67
                                           Klitz - Direct

                                                                                      43


        1   account number ending 4176 at Bank of America, the name MGTEN

        2   Marketing Group, Inc.

        3   Q.   If you look at the bottom of that first page, who's the

        4   signatory on this account?

        5   A.   Monty Ray Grow.

        6   Q.   And I'm now going to show you Government's Exhibit 4-C, and

        7   can you tell us what this is?

        8   A.   The same type of form, the signature card when the account

        9   was opened for MGTEN Marketing Group, Inc., account ending in

       10   4397 at Bank of America.

       11   Q.   And according to the bank records for both of those accounts

       12   we looked at, 4-B and 4-C, does anyone else have any interest in

       13   any of those accounts other than Monty Grow?

       14   A.   No.

       15   Q.   Is anyone else besides Mr. Grow authorized to conduct any

       16   transactions from those accounts?

       17   A.   No.

       18   Q.   And does your review of the records suggest in any way that

       19   anyone other than Mr. Grow conducted transactions out of either

       20   one of those accounts?

       21   A.   No.

       22   Q.   All right.   I want to show you Government's Exhibit 11, and

       23   can you tell the jury what Government's 11 is?

       24   A.   The records from the State of Florida, Secretary of State

       25   when the corporation was organized, or in this instance,
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 44 of 67
                                             Klitz - Direct

                                                                                      44


        1   dissolved.

        2   Q.    And what company are we talking about?

        3   A.    MGTEN Marketing Group, Inc.

        4   Q.    And based upon your review of these records -- and I'm

        5   flipping through several pages so the jury can just see the

        6   documents -- who is the person who holds the interest in MGTEN

        7   Marketing Group?

        8   A.    Monty Grow.

        9   Q.    And the incorporator?

       10   A.    The incorporator?

       11   Q.    Who is the incorporator?

       12   A.    Monty Grow and Frederick Mills.

       13   Q.    And throughout the existence of that company, who was the

       14   president, director, and so forth?

       15   A.    Monty Grow.

       16   Q.    And do the corporate records listed in Government's 11 match

       17   up with the information in those two bank signature opening

       18   cards?

       19   A.    They do.

       20   Q.    All right.    I want to show you now what's been admitted as

       21   Government's Exhibit 4-D, and can you tell the jury what this

       22   is?

       23   A.    That is, again, a signature card, but this is for the

       24   personal account at Bank of America for Monty Grow, account

       25   number ending in 6597.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 45 of 67
                                            Klitz - Direct

                                                                                      45


        1   Q.     And who is the signatory on this account?

        2   A.     Monty Grow.

        3   Q.     And according to these bank records, does anyone else have

        4   any interest in this account?

        5   A.     No.

        6   Q.     Is anyone else besides Mr. Grow authorized to conduct any

        7   transactions from this account?

        8   A.     No.

        9   Q.     And does your review of the records suggest in any way that

       10   anyone other than Mr. Grow conducted transactions out of this

       11   account?

       12   A.     No.

       13   Q.     Okay.   Now, if we can turn to the summaries, and I'm going

       14   to start with -- well, in general terms describe for the jury

       15   what you were asked to do, what types of summaries you made and

       16   what the purposes were.

       17   A.     I reviewed the statements and backup items that we received

       18   from Bank of America for the three different accounts, the two

       19   corporate accounts and the personal account.       I traced the funds

       20   into those accounts and the funds out of those accounts and then

       21   prepared summaries to illustrate that flow of funds.

       22   Q.     And the jury should now be able to see Government's Exhibit

       23   159.

       24                Is this an exhibit you created?

       25   A.     Correct, it is.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 46 of 67
                                           Klitz - Direct

                                                                                      46


        1   Q.   And if you would -- well, let's start with, what is the date

        2   range on your analysis here?

        3   A.   Approximately October 2014 through June of 2016.

        4   Q.   And if you could maybe start in the top left and describe

        5   for us the transactions that you traced through these bank

        6   records.   What is the icon in the top left where I'm indicating

        7   here?

        8   A.   In the top left corner the icon is used to illustrate the

        9   funds coming from the Patient Care America account at Chase

       10   Bank, account ending in 6983, that were issued to Monty Grow and

       11   his corporate entity MGTEN.     So you'll see in the top line from

       12   the 6983 account, moving over to the right, to the MGTEN Bank of

       13   America account ending in 4397, there were distributions by

       14   Patient Care America to MGTEN of $19,582,503.

       15   Q.   And how about going down from the PCA icon, what does that

       16   represent?

       17   A.   Right.   Then there were also payments made directly to Monty

       18   Grow by Patient Care America totaling $1,183,590.

       19   Q.   And how were these transactions conducted?      If they weren't

       20   all the same, maybe indicate the division between them, but were

       21   they checks, wires, some other form of transaction?

       22   A.   They are almost exclusively all electronic transfers.       There

       23   was one check that was issued into the personal 6597 account by

       24   DCRX, but the remainder of the payments were made electronically

       25   to the two accounts.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 47 of 67
                                           Klitz - Direct

                                                                                        47


        1   Q.   And the account that I'm indicating in the center left,

        2   Monty Grow account BOA 6597, who controls that account?

        3   A.   Monty Grow.

        4   Q.   And the account in the top right, MGTEN BOA 4397, who

        5   controls that account?

        6   A.   Monty Grow.

        7   Q.   And then if we can continue on, from the MGTEN BOA account

        8   4397, I'd like you to explain where the money flows from there,

        9   but I want to start with the question:           When the time of your

       10   analysis began, how much money was in that account?

       11   A.   There was about 10,000 -- just a little over $10,000 in the

       12   4397 account when these transfers began.

       13   Q.   And when was that date more or less?

       14   A.   October 2014.

       15   Q.   And so tell us where that $19,582,503 ends up.

       16   A.   There were transfers from the 4397 account, the MGTEN Bank

       17   of America 4397 account, to the other MGTEN Bank of America

       18   account ending in 4176 of 19,201,371.           There were also transfers

       19   totaling 1,057,000 from the MGTEN Bank of America 4397 account

       20   to the Monty Grow personal account at Bank of America ending in

       21   6597.

       22   Q.   Okay.    And I want to make an observation and ask for your

       23   comment.     Where I'm indicating 19,200,000 was transferred from

       24   account 4397 to account 4176, 19.2 million, and then another 1

       25   million and change was transferred to the personal account,
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 48 of 67
                                           Klitz - Direct

                                                                                      48


        1   correct?

        2   A.   Correct.

        3   Q.   If you add those two figures together, 19 million and 1

        4   million, it exceeds the 19 million that was transferred from

        5   PCA, correct?

        6   A.   Correct.

        7   Q.   And so can you explain the difference there?

        8   A.   Yes.    There were additional deposits into the 4397 account.

        9   There were approximately $424,000 in deposits made that were

       10   described on the statement as counter credits.       I was actually

       11   on the phone with the bank just as I walked in, and to date --

       12   Q.   Let me stop you.    You just described 400,000 in counter

       13   credits.     What is a counter credit and were there any examples

       14   of what that was within the bank records you actually reviewed?

       15   A.   There was one other deposit described as a counter credit

       16   that I did receive the backup for, and it was the one check that

       17   DCRX cut to Monty Grow and it was deposited.       And counter credit

       18   simply means it's a deposit that was made inside the bank facing

       19   a teller.

       20   Q.   Okay.    So that's $400,000.    What's the remaining unaccounted

       21   for amount?

       22   A.   There was a little over $200,000 in deposits from a company

       23   by the name of InforMD.     I'm not exactly sure how you say it.

       24   It's I-n-f-o-r-m-d, LLC.

       25   Q.   And that accounts for how much?
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 49 of 67
                                           Klitz - Direct

                                                                                        49


        1   A.   A little over 200,000.

        2   Q.   How were those InforMD, LLC payments made?          Was it one lump

        3   sum, were they spread out?    Can you describe those?

        4   A.   They were electronic transfers as well.          The 200,000 relates

        5   to the time period that was relevant to my analysis, October

        6   2014 through -- I think they ended in July of 2015.            There were

        7   additional transfers made prior to my time frame.            I think the

        8   very first one was in June of 2014, and they occurred

        9   approximately monthly, a couple, 3, 2, $1,000 monthly.

       10   Q.   And so just to sum that up, it was about 200,000 spread out

       11   over what time period?

       12   A.   The 200,000 was from October of 2014 to July of 2015.

       13   Q.   Okay.    And now if I can direct your attention back to the

       14   Monty Grow personal account, Bank of America 6597, that

       15   received -- correct me if I'm wrong -- about 10 and a half

       16   million; is that correct?

       17   A.   No, a little bit more than that.           It received from three

       18   sources.     It received 1.1 million from the PCA account, it

       19   received a little over a million from the MGTEN Bank of America

       20   4397 account, and then it received about 9.4 million from the

       21   MGTEN 4176 account.

       22   Q.   That's why you do this and not me.           What's the total then

       23   that was sent into that account?

       24   A.   Just over 11 -- like about 11.5 million, 11.6, right around

       25   there.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 50 of 67
                                            Klitz - Direct

                                                                                      50


        1   Q.   And then below that account you see these outward arrows to

        2   the blue squares.     What do those represent?

        3   A.   Financial transactions out of the 6597 account.

        4   Q.   And do these total up the entire expenditures out of this

        5   account?

        6   A.   No.

        7   Q.   And what are these then?

        8   A.   Primarily asset purchases.

        9   Q.   And did you do summaries of those asset purchase

       10   transactions?

       11   A.   I did.

       12   Q.   And we notice that this box here I'm pointing at says U.S.

       13   Treasury.     That can't possibly be an asset purchase, is it?

       14   A.   No.    People don't generally refer to those as asset

       15   purchases.

       16   Q.   What is it?

       17   A.   Payment of taxes.

       18   Q.   And then if I can direct your attention back to the

       19   right-hand side, this is the MGTEN corporate account, Bank of

       20   America 4176, correct?

       21   A.   Correct.

       22   Q.   And it received a total of 19,200,000?

       23   A.   Correct.

       24   Q.   And then this shows 19.3 million went to the personal

       25   account?
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 51 of 67
                                           Klitz - Direct

                                                                                      51


        1   A.   Correct.

        2   Q.   And then what are these other two transactions below it?

        3   A.   The first one, the 90,478, is the purchase of a Range Rover

        4   from Land Rover of Naples titled in the name of MGTEN Marketing,

        5   and the other one is a payment made to sales reps and

        6   beneficiaries and those payments total $8,748,971.

        7   Q.   And for each of these -- well, for the Land Rover of Naples

        8   transaction, did you do a summary of that transaction?

        9   A.   Yes, reviewed the file and traced the funds from the bank

       10   account to the company.

       11   Q.   And we'll look at that in just a moment.      Here you also

       12   have, as you just described, the $8.7 million to sales reps and

       13   benes.   Did you do a summary of that as well?

       14   A.   I did.

       15   Q.   Let's then turn to Government's Exhibit 160.      Ms. Klitz, is

       16   this a summary that you created, Government's 160?

       17   A.   It is.

       18   Q.   What does this show?

       19   A.   This shows now the 8.8 million that came out of the MGTEN

       20   4176 account and the different categories of payments that were

       21   made either to sales reps or to beneficiaries and/or sales reps.

       22   Q.   And in order to calculate those, did you, in effect, create

       23   other summaries of each of these transactions?

       24   A.   Yes.

       25   Q.   Can you describe what you did?
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 52 of 67
                                           Klitz - Direct

                                                                                      52


        1   A.   I went through the bank account and analyzed all the

        2   payments out, sorted them by entity, created a master list and

        3   then summarized after the determination was made by the case

        4   agent as to what the nature of the entity or individual was.

        5   Q.   Okay.   And let's start with looking at the summary of this

        6   transaction, and I'll show you Government's Exhibit 162.        Tell

        7   the jury what this document is.

        8   A.   That's the listing of names of the individuals or entities,

        9   because there are some entities, not just individuals in there,

       10   and the total of payments made to each one of them because most

       11   of them received multiple payments.

       12   Q.   And is it fair to say that you looked into this bank account

       13   for MGTEN sales and you actually located all of these

       14   transactions --

       15   A.   Yes.

       16   Q.   -- to these individuals or entities?

       17   A.   Yes, they came out of the MGTEN 4176 account.

       18   Q.   What was the total figure when you summed up all of those

       19   payments?

       20   A.   $7,605,584.

       21   Q.   And that is reflected -- if we go back to Government's 160,

       22   that's how you calculated the total payments to sales reps?

       23   A.   Correct.

       24   Q.   Did you create a similar document for the payments to what

       25   we have listed here as bene, sales reps on the right-hand side
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 53 of 67
                                           Klitz - Direct

                                                                                      53


        1   of that?

        2   A.   Yes.

        3   Q.   Now, I'm going to show you Government's 162, and tell the

        4   jury what this is.

        5   A.   This is the same type of listing.          It's an alphabetical

        6   summary of the payments made to entities or individuals that

        7   were identified by the case agent as either beneficiaries and/or

        8   sales reps, and the total paid to each one of them out of the

        9   4176 account.

       10   Q.   And so you went through those bank records and confirmed

       11   that these transactions were in there?

       12   A.   I did.

       13   Q.   And what's the sum total -- this is obviously a much longer

       14   list, it's three pages.    Do you know how many of the individuals

       15   are in here?

       16   A.   No, not off the top of my head, sorry.

       17   Q.   But what is the total on Page 3?

       18   A.   $1,123,577.

       19   Q.   And now I'm showing you what has been admitted as

       20   Government's Exhibit 163.    Can you describe for the jury what

       21   this summary is?

       22   A.   These are the payments, not all of them, but some of the

       23   payments made by PCA to either the MGTEN Marketing 4397 account

       24   or the Monty Grow 6597 account.

       25   Q.   And so I'm going to go back and show kind of the original,
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 54 of 67
                                            Klitz - Direct

                                                                                      54


        1   Government's 159, which is your large outline, correct?

        2   A.   Correct.

        3   Q.   And point to the jury which -- no, don't point to the jury.

        4   I will point to the jury and you confirm.         What you just talked

        5   about was the summary of some of the transactions from PCA Chase

        6   6983 over to MGTEN BOA 4397, correct?

        7   A.   Correct.   That's the first grouping on the page underneath.

        8   Q.   And then the second grouping at the bottom of that chart are

        9   the transactions that go from PCA Chase 6983 down to Monty

       10   Grow's personal account?

       11   A.   Correct.

       12   Q.   Let's then go back to Government's Exhibit 163, and did you

       13   confirm in the bank records that all of these transactions took

       14   place on all of these dates?

       15   A.   I did.

       16   Q.   It lists on the far left count numbers, from the top, Count

       17   11, 12, 13, and so on down to Count 33.          Can you tell us what

       18   those are?

       19   A.   They correspond to the counts in the Superseding Indictment.

       20   Q.   And so for Count 12 in the Superseding Indictment it

       21   lists --

       22   A.   10.   Count 10.

       23   Q.   Forgive me.   Thank you.   For Count 10 in the Superseding

       24   Indictment, it lists a payment of 85,946, correct?

       25   A.   Correct.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 55 of 67
                                           Klitz - Direct

                                                                                      55


        1   Q.   And you actually located that transaction on that date

        2   inside the bank records?

        3   A.   I did.

        4   Q.   And did you do that for all of the various transactions in

        5   there?

        6   A.   I did.

        7   Q.   And all of these transactions that are listed in

        8   Government's Exhibit 163, are those the sum total of all

        9   transactions to him?

       10   A.   No.

       11   Q.   Just the ones linked to the counts?

       12   A.   Correct.

       13   Q.   Okay.    I'm now going to show you Government's 164.     Can you

       14   tell the jury what this summary is?

       15   A.   This is just the listing of the counts as they're titled on

       16   the left side and their payments made out of the 4176 account to

       17   beneficiaries on the dates listed for the amounts paid.        Those

       18   are individual amounts, they're not totals.

       19   Q.   And so where in the Superseding Indictment each count lists

       20   a transaction on a particular date and a particular total, did

       21   you locate these transactions within Monty Grow or MGTEN bank

       22   records?

       23   A.   Yes, they were all transfers, and right on the statement it

       24   will say, transfer of funds, and it lists the account name, the

       25   holder of the account, and the date and the amount.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 56 of 67
                                            Klitz - Direct

                                                                                      56


        1   Q.   And do these represent all of the transactions that are

        2   reflected in the MGTEN or Mr. Grow's personal account to

        3   beneficiaries or sales reps?

        4   A.   No.

        5   Q.   Just the ones listed in the counts?

        6   A.   Correct.

        7   Q.   And now I want to show you, Ms. Klitz, a summary document.

        8   Did you create this?

        9   A.   Yes.

       10   Q.   And this is listed Government's Exhibit 45.

       11   A.   165.

       12   Q.   165.   Thank you.   And can you describe for the jury the

       13   information that's in here and where this information came from?

       14   A.   These images relate to Count 45 of the Indictment, which was

       15   the purchase of a 2014 Porsche from Kessler Auto Group.        There

       16   was a withdrawal from Monty Grow's personal account at Bank of

       17   America and a cashier's check was issued to Kessler Auto Group

       18   in the amount of $105,544.94 and then those are pictures of that

       19   vehicle.

       20   Q.   And I want to show you what's been admitted as Government's

       21   Exhibit 8.      Have you seen this document before?

       22   A.   I have.

       23   Q.   And what is it?

       24   A.   Those are the transaction documents from Kessler Auto Group

       25   in regard to the purchase of that Porsche by Monty Grow.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 57 of 67
                                            Klitz - Direct

                                                                                      57


        1   Q.   On Page 2 of Government's Exhibit 8, which are the Kessler

        2   Auto Group documents, do you recognize this check?

        3   A.   Yes.     That's the same check that's used in the illustration,

        4   the same check I received from Bank of America -- image of the

        5   check.

        6   Q.   And that's related to which count of the Indictment?

        7   A.   Count 45.

        8   Q.   And now I want to show you another summary exhibit.       Did you

        9   create this, Government's Exhibit 166?

       10   A.   Yes.

       11   Q.   And what is this?

       12   A.   These are images that relate to the transaction for the

       13   purchase of the Range Rover from Land Rover of Naples.

       14   Q.   And did you locate that transaction within that bank

       15   account?

       16   A.   I did.     This was through the MGTEN Marketing Group account,

       17   account ending in 4176.

       18   Q.   And I want to show you what has been admitted as

       19   Government's Exhibit 7.      Do you recognize these documents?

       20   A.   Yes, those are the sales records received from Land Rover of

       21   Naples for that purchase.

       22   Q.   And does it reflect the purchase of the vehicle that's

       23   listed in the check?

       24   A.   It does.

       25   Q.   And moving on to Government's Exhibit 167, is this another
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 58 of 67
                                           Klitz - Direct

                                                                                      58


        1   summary that you created from the financial records?

        2   A.   Yes.

        3   Q.   And what does this summary document reflect?

        4   A.   This summarizes transfers made from the Monty Grow personal

        5   account ending in 6597 at Bank of America to an Ameritrade

        6   account in Monty Grow's name totaling $3 million.

        7   Q.   And at the bottom of this exhibit it lists Count 47.       Count

        8   47, what's the total amount of the transfer reflected in that

        9   alleged money laundering count?

       10   A.   250,000.

       11   Q.   Right above Count 47 there's a -- I don't know, some sort of

       12   transaction.    Can you describe what that is and where it comes

       13   from?

       14   A.   That was just lifted directly from the bank statement for

       15   account ending in 6597 for the transaction on that date.

       16   Q.   And now I'm showing you Government's Exhibit 168.       Do you

       17   recognize this document?

       18   A.   Yes.   That's an exhibit that I prepared with images

       19   documenting the purchase of a piece of property at 5803 Mariner

       20   Street in Tampa, Florida.

       21   Q.   And Ms. Klitz, it's getting late, but I want to show you

       22   Government's Exhibit 5.     Do you recognize this?

       23   A.   I reviewed 3 and 4.

       24   Q.   Well, let me go back to Government's Exhibit 167 and show

       25   you Government's 5.    Do you recognize that?
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 59 of 67
                                            Klitz - Direct

                                                                                      59


        1   A.   No.

        2   Q.   If you don't, you don't.

        3   A.   No.

        4   Q.   Okay.   Then continuing back to 167.

        5   A.   168.

        6   Q.   168.    Can you tell us again what this exhibit reflects?

        7   A.   It's the page of the bank statement for Monty Grow's account

        8   ending in 6597 at Bank of America, reflecting the transfer of

        9   funds from the account to DHI Title in the amount of -- I

       10   believe off the top of my head it was 1.548 million.            I can't

       11   really read the print, but it's on the summary schedule from

       12   before.

       13   Q.   And I also did want to show you what's been admitted as

       14   Government's Exhibit 6.    Do you recognize these documents?

       15   A.   Yes, those are the documents received from DHI Title

       16   regarding that transaction.

       17   Q.   And what exactly are these documents and what do they

       18   reflect?

       19   A.   The closing documents for that property.

       20   Q.   And what was the total reflected in those closing documents?

       21   A.   1,548,000 and some odd dollars.

       22   Q.   And I think lastly, I want to show you what has been

       23   admitted at Government's Exhibit 169.            Do you recognize this

       24   document?

       25   A.   Yes.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 60 of 67
                                              Klitz - Cross

                                                                                      60


        1   Q.   Go ahead.

        2   A.   It's an exhibit we prepared with images documenting the

        3   purchase of two jet skis from Barney's.

        4   Q.   And what is the total of that transaction?

        5   A.   $24,521.36 from the Monty Grow 6597 account at Bank of

        6   America.

        7   Q.   And then I want to show you Government's Exhibit 9.       Do you

        8   recognize these documents?

        9   A.   Yes.    Those are the records of the purchase of those two jet

       10   skis.

       11   Q.   And those records confirm this transaction for these jet

       12   skis; is that correct?

       13   A.   Yes.

       14   Q.   And is this the transaction that's reflected in Count 49, an

       15   alleged money laundering transaction?

       16   A.   Correct.

       17               MR. JUENGER:    I finished before 5:00, Your Honor.

       18               THE COURT:     All right.    Cross-examination.

       19                               CROSS-EXAMINATION

       20   BY MR. MARCUS:

       21   Q.   Good afternoon.

       22   A.   Good afternoon.

       23   Q.   So let me just start with Government's Exhibit 159.       You

       24   were asked to look at a variety of records in this case and make

       25   some charts?
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 61 of 67
                                            Klitz - Cross

                                                                                      61


        1   A.   Correct.

        2   Q.   Okay.    And you looked at some records for Mr. Grow's

        3   marketing company, MGTEN Marketing Group, right?

        4   A.   Correct.

        5   Q.   And that was a group that was registered with the State of

        6   Florida, publicly incorporated in Mr. Grow's name, correct?

        7   A.   Correct.

        8   Q.   And Mr. Grow had bank accounts with Bank of America in his

        9   name, right?

       10   A.   Correct.

       11   Q.   And as you testified earlier, there were no other

       12   signatories or other names on either of these companies or the

       13   bank accounts?

       14   A.   Correct.

       15   Q.   And one of the things you were asked to look at by the

       16   Government was the amount of money that PCA paid Mr. Grow's

       17   company.     Do you see that?

       18   A.   To Mr. Grow and to his company, yes.

       19   Q.   Yes, we'll talk about that in a minute, but you're right.

       20              So this figure is what goes to the corporate account,

       21   correct?

       22   A.   Correct.

       23   Q.   And this figure goes to his personal account?

       24   A.   Correct.

       25   Q.   And do you recall that this figure, these amounts of money,
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 62 of 67
                                            Klitz - Cross

                                                                                      62


        1   this came later --

        2   A.   Correct.

        3   Q.   -- do you recall that, towards the end?

        4   A.   Correct, yes.

        5   Q.   Right.     Did you see evidence of W-2 payments to Mr. Grow?

        6   A.   What do you mean by W-2 payments?

        7   Q.   Well, did you look?     Did you pull -- for example, you talked

        8   about the U.S. Treasury and his tax payments.

        9   A.   Right.

       10   Q.   Did you do any analysis of W-2 payments versus 1099?

       11   A.   I'm not sure what your question is, but the payments that

       12   were made directly to Mr. Grow were different than the payments

       13   that were made to his company.       The payments made to him were

       14   through a Paychex company, I believe, and there was withholding

       15   on those payments.      The amount that's listed is the net amount,

       16   not the gross amount.      If you add the taxes, it's a little over

       17   2 million.

       18   Q.   Correct.     These were payments you said that came towards --

       19   they were later?

       20   A.   They were May and June.     The above payments were from

       21   October 2014 to April of 2015.

       22   Q.   Right.     So May, June of 2015.      So consistent with becoming

       23   an employee?

       24   A.   I don't know why they changed, I just know they changed.

       25   Q.   Right.     But you saw evidence of PCA withholding tax and you
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 63 of 67
                                              Klitz - Cross

                                                                                      63


        1   saw that they were using Paychex to make direct deposit payments

        2   to Mr. Grow?

        3   A.   Correct.

        4   Q.   You're aware that Paychex is a company that pays employees

        5   for lots of other companies?

        6   A.   I know they handle payroll.

        7   Q.   They handle payroll.      Very good.         Thank you.

        8              Okay.   And so this U.S. Treasury amount of tax, you

        9   didn't actually look at Mr. Grow's tax records, did you?

       10   A.   I did not.

       11   Q.   So he could have paid even more tax that year than this

       12   figure of $4,184,830?

       13   A.   Oh, I know certainly he did because that only reflects the

       14   payments he made himself out of the Bank of America 6597

       15   account.     It does not include the amount that was withheld from

       16   the Paychex checks.

       17   Q.   You were not asked to put that on this chart by the

       18   Government?

       19   A.   Because he didn't pay it.         It didn't come out of his

       20   account.

       21   Q.   You were just looking --

       22   A.   This just reflects -- right, this just reflects in and out

       23   of his account.

       24   Q.   Okay.    Thank you.

       25                THE COURT:    Redirect.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 64 of 67
                                            Klitz - Cross

                                                                                      64


        1              MR. MARCUS:    Oh, I'm sorry.        It's a bad habit.

        2              THE COURT:    So you know I'm paying attention.

        3              MR. MARCUS:   I know you are.

        4   BY MR. MARCUS:

        5   Q.   And again, this is a chart, 163, Government's Exhibit 163.

        6   You were just looking essentially for the movement of money from

        7   one account to another, right?

        8   A.   Correct.

        9   Q.   And so, for example, you have no factual knowledge about the

       10   agreement between PCA and Mr. Grow that underlies these

       11   payments?

       12   A.   No, I don't.

       13   Q.   You never looked at employment agreements or anything like

       14   that?

       15   A.   No.

       16   Q.   Thank you.

       17              But I do want to ask about, to make sure I'm clear,

       18   this figure, sales reps and beneficiaries.           You said that the

       19   case agents, they told you to use that term to describe these

       20   payments?

       21   A.   Correct.

       22   Q.   I just want to show this.     So these are not terms that you

       23   came up with yourself based on any knowledge of the case or any

       24   facts?

       25   A.   No.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 65 of 67
                                               Klitz - Cross

                                                                                      65


        1   Q.     Okay.    And this is 161, which is titled MGTEN Sales Reps?

        2   A.     Correct.

        3   Q.     And as you said, it's a listing of payments to what you were

        4   told were sales representatives, correct?

        5   A.     Correct.

        6   Q.     All from his company?

        7   A.     Yes.

        8   Q.     And I could put up chart 159, Exhibit 159, but most of the

        9   payments of your breakdown were to people designated as sales

       10   reps by the Government?

       11   A.     Correct, of the 8.8 million.

       12   Q.     I'll just put it up.      That's 7.6 million to the sales reps

       13   as described to the Government to you, and the total again is a

       14   little under 8.8 million?

       15   A.     Correct.

       16   Q.     Right.     Okay.   And again, just so it's clear, this term

       17   beneficiary/sales reps, that's a term that you got from the

       18   Government as well?

       19   A.     Correct.

       20   Q.     And so, for example, you don't know what these payments were

       21   for?

       22   A.     No.

       23   Q.     And you don't know if all of these people were acting as

       24   sales reps and being paid commissions when they received these

       25   monies?
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 66 of 67
                                                Klitz - Cross

                                                                                      66


        1   A.   I just know that they were paid those monies out of the 4176

        2   MGTEN account.

        3   Q.   Right.     The corporate account?

        4   A.   Correct.

        5   Q.   And you said most of the payments were electronic?

        6   A.   All of these payments were electronic.

        7   Q.   Were wired.

        8   A.   Yes.

        9   Q.   Okay.    And then you were asked by the Government to look at

       10   certain purchases or expenses, certain purchases that came out

       11   of that corporate account?

       12   A.   Correct, financial transactions.

       13   Q.   Financial transactions?

       14   A.   Correct.

       15   Q.   When you looked at the account, were you asked by the

       16   Government to compute business expenses for MGTEN Marketing

       17   Group?

       18   A.   No.

       19   Q.   Okay.     And sitting here today, you don't have a number

       20   that -- you don't have a calculation for business expenses that

       21   MGTEN Marketing paid to other third parties?

       22   A.   No.

       23                MR. MARCUS:    Okay.   Nothing further.

       24                THE COURT:     Redirect.

       25                MR. JUENGER:    No redirect, Your Honor.
Case 1:16-cr-20893-FAM Document 184 Entered on FLSD Docket 03/26/2018 Page 67 of 67
                                                                                      67


        1            THE COURT:    Thank you, Ms. Klitz.    You're excused.

        2   Have a good day.

        3            THE WITNESS:    Thank you.

        4       (The witness was excused and the testimony concluded at 5:10

        5   p.m.)

        6

        7                         C E R T I F I C A T E

        8            I hereby certify that the foregoing is an accurate

        9   transcription of proceedings in the above-entitled matter.

       10

       11   ________________
              03-26-18                 ______________________________________
                DATE                   GILDA PASTOR-HERNANDEZ, RPR, FPR
       12                              Official United States Court Reporter
                                       Wilkie D. Ferguson Jr. U.S. Courthouse
       13                              400 North Miami Avenue, Suite 3-3
                                       Miami, Florida 33128      305.523.5118
       14                              gphofficialreporter@gmail.com

       15

       16

       17

       18

       19

       20

       21

       22

       23

       24

       25
